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                                 UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF PUERTO RICO

                                               Minute Entry

  Hearing Information:

  Debtor: SKYTEC INC.
  Case Number: 18-05288-EAG11                                                    Chapter: 11
  Date / Time / Room: 08/29/2019 09:30 am
  Bankruptcy Judge: EDWARD A. GODOY
  Courtroom Clerk: MARTA BORREGO
  Reporter / ECR: EDNA SANABRIA

  Matter:

  EVIDENTIARY HEARING

  Appearances:

  ALEXIS FUENTES HERNANDEZ, ATTORNEY FOR DEBTOR
  MARISTELLA SANCHEZ, ATTORNEY FOR ORIENTAL BANK
  SOLYMAR CASTILLO MORALES, ATTORNEY FOR LOGISTIC SYSTEMS, INC.
  CARLOS A. RODRIGUEZ VIDAL, ATTORNEY FOR LOGISTIC SYSTEMS, INC.
  ANDREW MORTON, ATTORNEY FOR LOGISTIC SYSTEMS, INC.

  Minutes of Proceedings:

                                                  ORDER:

            Based on what was admitted in open court by counsel for the movant and counsel for the
  debtor, bearing in mind that there is a final and unappealable judgment from the District Court in favor
  of the movant in the approximate amount of $4.4 million which arises from prepetition debt, and noting
  that it is uncontested that the relationship between the two parties terminated in January 2017, the Court
  made an initial ruling that the debtor was insolvent within the 90-day preference period prior to the
  bankruptcy and also within the one-year period for preferential payments made for the benefit of
  insiders.

           After a short recess during which the parties met in chambers, the parties informed the court
  that they are negotiating a possible solution to the contested matter that would entail the appointment of
  an examiner, which would need to be approved by the U.S. Trustee. In light of this, the parties are
  ordered to file a joint motion by September 12, 2019 either stipulating to the appointment of an examiner
  and delineating any expanded powers he or she may have, if any, or to inform the Court that no
  agreement was reached. Today's evidentiary hearing is continued to October 21, 2019 at 9:30 a.m. in
  the United States Bankruptcy Court, 300 Recinto Sur Street, Courtroom 2, San Juan, Puerto Rico and if
  necessary October 22, 2019 at 9:30 a.m. at the United States Bankruptcy Court, Southwestern Divisional
  Office, MCS Building, Second Floor, 880 Tito Castro Avenue, Ponce, Puerto Rico.
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          With the consent of the debtor and Logistic Systems, Inc., Oriental Bank's order approving the
  use of cash collateral is extended to October 31, 2019 under the same terms as previously agreed.

         SO ORDERED.


                                                 /s/EDWARD A. GODOY
                                                 U. S. Bankruptcy Judge
